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                            OFFICE OF THE CLERK
                        UNITED STATES DISTRICT COURT
                           Northern District of California
                                        CIVIL MINUTES
 Date: March 3, 2003               Time: 22 minutes                Judge: EDWARD M. CHEN

 Case No.: 19-cv-02573-EMC         Case Name: Staley et. al. v. Gilead Sciences, Inc.

Attorneys for Plaintiffs: Judith Zahid and Beko Reblitz-Richardson (United Healthcare
Services, Inc.); Christopher Holding and Jordan Bock (Teva Pharmaceuticals, USA, Inc.) and
Kelly Rinehart (Direct Purchaser Plaintiffs)
Attorneys for Defendant: Peter Carney, Christopher Curran and Heather Burke

 Deputy Clerk: Vicky Ayala                            Zoom Webinar Time: 1:30-1:52

                                        PROCEEDINGS
Motions to Dismiss - held [836] [838]

                                          SUMMARY
Parties stated appearances.

Matter taken under submission.
